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3                                              EXHIBIT A

4                              COMPENSATION BY PROFESSIONAL
                               JULY 1, 2019 THROUGH JULY 31, 2019
5
          The professionals who rendered professional services in these chapter 11 cases during the
6
     Fee Period are:
7

8    Professional                Level                             Rate           Hours            Fees
9
     2019 Audit Services
10   Basilico, Ellen             Partner/Principal              $380.00            3.7      $1,406.00
     Clark, Brian                Partner/Principal              $380.00            1.0       $380.00
11
     Cochran, James              Partner/Principal              $380.00            3.0      $1,140.00
12   Gillam, Tim                 Partner/Principal              $380.00           37.9     $14,402.00
     Pemberton, Tricia           Partner/Principal              $380.00            4.6      $1,748.00
13   Choudhary, Devesh           Managing Director              $380.00            1.7       $646.00
14   Donahue, Nona               Managing Director              $380.00            1.9       $722.00
     Meredith, Wendy             Managing Director              $380.00           23.3      $8,854.00
15   Bush, Amber                 Senior Manager                 $330.00            3.0       $990.00
16   Giamanco, Patrick           Senior Manager                 $330.00           28.2      $9,306.00
     Murdock, Elizabeth          Senior Manager                 $330.00           36.2     $11,946.00
17   Ncho-Oguie, Jean-Denis      Senior Manager                 $330.00           44.6     $14,718.00
18   Varkey, Jamie               Senior Manager                 $330.00            0.2         $66.00
     White, Teal                 Senior Manager                 $330.00            0.2         $66.00
19   Jasinski, Samantha          Manager                        $290.00           89.4     $25,926.00
     Nkinzingabo, Rudy           Manager                        $290.00           20.1      $5,829.00
20
     Sreeram, Sree               Manager                        $290.00            5.0      $1,450.00
21   Veluri, Pavani              Manager                        $290.00            3.0       $870.00
     Adams, Haley                Senior Consultant              $230.00           21.5      $4,945.00
22
     Agarwal, Rima               Senior Consultant              $230.00           20.5      $4,715.00
23   Azebu, Matt                 Senior Consultant              $230.00           61.4     $14,122.00
     Bhimani, Harika             Senior Consultant              $230.00            3.0       $690.00
24
     Jain, Rachna                Senior Consultant              $230.00            1.0       $230.00
25   Kamra, Akanksha             Senior Consultant              $230.00           26.7      $6,141.00
     Kipkirui, Winnie            Senior Consultant              $230.00          185.0     $42,550.00
26   M, Nikitha                  Senior Consultant              $230.00           15.0      $3,450.00
27   Morley, Carlye              Senior Consultant              $230.00            4.7      $1,081.00

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1    Rice, Blake              Senior Consultant             $230.00      116.2        $26,726.00
2    Varshney, Swati          Senior Consultant             $230.00       47.4        $10,902.00
     Yuen, Jennifer           Senior Consultant             $230.00       32.4         $7,452.00
3    Bedi, Arpit              Consultant                    $200.00      102.2        $20,440.00
     Bhattacharya, Ayush      Consultant                    $200.00       70.0        $14,000.00
4
     Choudhury, Viki          Consultant                    $200.00       27.0         $5,400.00
5    Doolittle, Chase         Consultant                    $120.00       12.5         $1,500.00
     Fazil, Mohamed           Consultant                    $200.00       50.5        $10,100.00
6    Hamner, Jack             Consultant                    $200.00        1.4          $280.00
7    Hennessy, Vincent        Consultant                    $200.00      107.8        $21,560.00
     Jain, Naman              Consultant                    $180.00        2.0          $360.00
8    K, Kavya                 Consultant                    $120.00       84.0        $10,080.00
9    Martin, Blake            Consultant                    $200.00      108.3        $21,660.00
     Mehra, Shreya            Consultant                    $180.00       23.7         $4,266.00
10   Nambiar, Sachin          Consultant                    $120.00       10.0         $1,200.00
     Nguyen, Jessica          Consultant                    $120.00       45.3         $5,436.00
11
     Salisam, Soujanya        Consultant                    $200.00       11.0         $2,200.00
12   Schloetter, Lexie        Consultant                    $180.00      135.4        $24,372.00
     Sewell, Kyle             Consultant                    $180.00       78.3        $14,094.00
13
     Sonn, Rebecca            Consultant                    $120.00       54.2         $6,504.00
14   Steele, Bridget          Consultant                    $120.00       72.1         $8,652.00
     Xue, Ella                Consultant                    $120.00      125.5        $15,060.00
15
     Professional Subtotal:                                             1,963.0      $410,633.00
16

17   Professional             Level                           Rate         Hours              Fees

18   AB 1054 Wildfire Fund
     Barta, Steve             Partner/Principal             $760.00        1.3          $988.00
19
     Barton, Doug             Partner/Principal             $760.00        8.9         $6,764.00
20   Gillam, Tim              Partner/Principal             $760.00       24.0        $18,240.00
     Green, Mike              Partner/Principal             $760.00        0.8          $608.00
21   Sojkowski, Rick          Partner/Principal             $760.00        2.1         $1,596.00
22   Weller, Curt             Partner/Principal             $760.00       20.3        $15,428.00
     Meredith, Wendy          Managing Director             $760.00        0.2          $152.00
23   Ncho-Oguie, Jean-Denis   Senior Manager                $660.00       13.1         $8,646.00
24   Roll, Kevin              Senior Manager                $660.00        1.0          $660.00
     Barclay, Kelsey          Manager                       $580.00       38.4        $22,272.00
25   Garcia, Edward           Manager                       $580.00        1.0          $580.00
26   Professional Subtotal:                                              111.1        $75,934.00

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1    Professional             Level                            Rate        Hours              Fees
2
     Accounting Consultations
3    Martin, Blake            Consultant                    $390.00         9.7        $3,783.00
     Professional Subtotal:                                                 9.7        $3,783.00
4

5    Professional             Level                            Rate        Hours              Fees
6
     California Wildfires
7    Barton, Doug             Partner/Principal             $760.00        0.5          $380.00
     Gillam, Tim              Partner/Principal             $760.00       11.4         $8,664.00
8    Meredith, Wendy          Managing Director             $760.00       10.1         $7,676.00
9    Ncho-Oguie, Jean-Denis   Senior Manager                $660.00        6.4         $4,224.00
     Azebu, Matt              Senior Consultant             $460.00       34.9        $16,054.00
10   Rice, Blake              Senior Consultant             $460.00        1.0          $460.00
11   Professional Subtotal:                                               64.3        $37,458.00

12
     Professional             Level                            Rate        Hours              Fees
13
     Lease Accounting Services
14   Cochran, James           Partner/Principal             $365.00         1.5         $547.50
15   Giamanco, Patrick        Senior Manager                $325.00         1.0         $325.00
     Professional Subtotal:                                                 2.5         $872.50
16

17   Professional             Level                            Rate        Hours              Fees

18   New Accounting Standards
     Vitola, Paul             Partner/Principal             $760.00        0.6          $456.00
19
     Azebu, Matt              Senior Consultant             $460.00       13.5         $6,210.00
20   Bedi, Arpit              Consultant                    $390.00        6.0         $2,340.00
     Sewell, Kyle             Consultant                    $350.00       21.9         $7,665.00
21
     Professional Subtotal:                                               42.0        $16,671.00
22

23   Professional             Level                            Rate        Hours              Fees

24   Post Bankruptcy Matters
     Gerstel, Ken             Partner/Principal             $760.00         1.0         $760.00
25
     Gillam, Tim              Partner/Principal             $760.00         3.5        $2,660.00
26   Kilkenny, Tom            Partner/Principal             $760.00         1.8        $1,368.00
     Donahue, Nona            Managing Director             $760.00         2.1        $1,596.00
27
     Meredith, Wendy          Managing Director             $760.00         3.2        $2,432.00
28



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1    Perez Zaldivar, Ignacio   Managing Director             $760.00         0.4         $304.00
2    Sasso, Anthony            Managing Director             $760.00         0.8         $608.00
     Sullivan, Mike            Managing Director             $760.00         1.0         $760.00
3    Luong, Mimi               Senior Manager                $660.00         0.6         $396.00
     Murdock, Elizabeth        Senior Manager                $660.00         4.7        $3,102.00
4
     Ncho-Oguie, Jean-Denis    Senior Manager                $660.00         2.0        $1,320.00
5    Pallai, Prakash           Senior Manager                $660.00         2.5        $1,650.00
     Sivakumar, Gireesh        Senior Manager                $660.00         2.0        $1,320.00
6    kumar
     Jasinski, Samantha        Manager                       $580.00        1.0          $580.00
7
     Nkinzingabo, Rudy         Manager                       $580.00        3.3         $1,914.00
8    Anandan, Harish           Senior Consultant             $460.00       28.0        $12,880.00
     Bharadwaj
9
     Azebu, Matt               Senior Consultant             $460.00        6.6         $3,036.00
10   Rice, Blake               Senior Consultant             $460.00        2.5         $1,150.00
     Yuen, Jennifer            Senior Consultant             $460.00        3.6         $1,656.00
11   Doolittle, Chase          Consultant                    $390.00        1.5          $585.00
12   Hamner, Jack              Consultant                    $390.00        1.0          $390.00
     Hennessy, Vincent         Consultant                    $390.00       17.9         $6,981.00
13   Martin, Blake             Consultant                    $390.00        2.0          $780.00
14   Nguyen, Jessica           Consultant                    $390.00        1.0          $390.00
     Schloetter, Lexie         Consultant                    $390.00        2.0          $780.00
15   Sewell, Kyle              Consultant                    $390.00        1.0          $390.00
     Steele, Bridget           Consultant                    $390.00        1.0          $390.00
16
     Professional Subtotal:                                                98.0        $50,178.00
17

18   Professional              Level                           Rate         Hours              Fees

19   Preparation of Fee Applications
     Jasinski, Samantha        Manager                       $290.00        6.1         $1,769.00
20
     Gutierrez, Dalia          Project Controller            $200.00       26.0         $5,200.00
21   Professional Subtotal:                                                32.1         $6,969.00

22
     Professional              Level                           Rate         Hours              Fees
23
     Regulatory Accounting
24
     Meredith, Wendy           Managing Director             $760.00         0.7         $532.00
25   Jasinski, Samantha        Manager                       $580.00         2.8        $1,624.00
     Rice, Blake               Senior Consultant             $460.00         1.0         $460.00
26
     Professional Subtotal:                                                  4.5        $2,616.00
27
     Total                                                               2,327.2      $605,114.50
28



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